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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

MOMODOU TAAL, MŨKOMA WA NGŨGĨ, and
SRIRAM PARASURAMA,
                       Plaintiffs,           NOTICE OF MOTION
       v.
                                             Civil Action No. 3:25-CV-00335-ECC
DONALD J. TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND SECURITY;
and KRISTI NOEM, in her official capacity as
Secretary of the U.S. Department of Homeland
Security;

                      Defendants.


        PLEASE TAKE NOTICE that, upon the Complaint and the exhibits attached thereto, the

 accompanying memorandum of law, and all other pleadings and proceedings in this action,

 Plaintiffs, by and through undersigned counsel, submit this ex parte application for emergency

 relief to enjoin Defendants Donald Trump, the Department of Homeland Security (“DHS”) and

 DHS Secretary Kristi Noem from attempting to detain, remove or otherwise enforce the two

 executive orders against Mr. Taal, and grant any other relief that the Court deems just and proper.

 Dated: March 19, 2025                 Respectfully submitted,

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